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                                   UNITED STATES DISTRICT COURT
                                  CENTRAL DISTRICT OF CALIFORNIA
 UNITED STATES OF AMERICA,                                   cASE r~uMSER
                                                 PLAINTIFF
                             v.                                    8:21-CR-00183
 JOSEPH PARKINSON
                                                                ORDER OF TEMPORARY DETENTION
                                                                  PENDING HEARING PURSUANT
                                           DEFENDANT(S).             TO BAIL REFORM ACT


    Upon motion of Joseph Parkinson                                   ,IT IS ORDERED that a detention hearing
is set for 12/06/21                                                   , at 1:00   ❑a.m./ ~p.m. before the
Honorable Mario A. Rocconi                                            , in Courtroom 790

    Pending this hearing, the defendant shall be held in custody by the United States Marshal or
                                                                            and produced for the hearing.
                     (Other custodial officer)




Dated: 12/02/21
                                                 U.S. District udge/Magistrate Judge




                  ORDER OF TEMPORARY DETENTION PENDING HEARING PURSUANT TO BAIL REFORM ACT
CR-66(10/97)                                                                                                 Page 1 of 1
